
Appeal by the defendant from a judgment of the County Court, Dutchess County, (Dolan, J.), rendered September 13, 2001, convicting him of criminal possession of a weapon in the second degree, upon his plea of guilty, and imposing sentence.
Ordered that the judgment is affirmed.
We have reviewed the record and agree with the defendant’s assigned counsel that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is granted {see Anders v California, 386 US 738 [1967]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
The defendant has not, nor could he have, raised any nonfrivolous issues in his supplemental pro se brief. Ritter, J.E, Smith, Friedmann, H. Miller and Crane, JJ., concur.
